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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  JAZZ PHARMACEUTICALS, INC.,            )
                                         )
                 Counterclaim-Defendant, )
                                         )
         v.                              )       C.A. No. 22-941 (GBW)
                                         )
  AVADEL CNS PHARMACEUTICALS LLC, )
                                         )
                 Counterclaim-Plaintiff. )
                                                  REDACTED - PUBLIC VERSION
   JAZZ’S RESPONSES TO AVADEL’S CONCISE COUNTERSTATEMENT OF FACTS
      IN OPPOSITION TO JAZZ’S MOTION FOR SUMMARY JUDGMENT NO. 2

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  June 13, 2025
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  I.     RESPONSE TO AVADEL’S STATEMENT OF FACTS

  Response to ¶1: Disputed insofar as Avadel suggests that



                                                            .

  Response to ¶2: Undisputed that Avadel accurately quoted a portion of the email. Disputed as to

  the implication the ’963 patent listing impeded a faster approval of Lumryz.

                                                    .

  Response to ¶3: Undisputed that the document




   .

  Response to ¶4: Undisputed that the documents




           .

  Response to ¶5: Undisputed that Avadel accurately quoted a portion of Jazz’s Q3 2016 earnings

  call. Disputed as to the implication that Jazz did not consider the ’963 patent claims as directed to

  methods of using Xyrem. See D.I. 249 at ¶¶ 2, 3, 5, 6.

  Response to ¶6: Undisputed that Avadel accurately quoted a portion of Jazz’s Q2 2016 earnings

  call. Disputed as to the implication that Jazz did not consider the ’963 patent claims as directed to

  methods of using Xyrem. See Jazz Op. at ¶¶ 2, 3, 5, 6.

  Response to ¶7: Undisputed that Avadel accurately quoted a portion of Jazz’s Q1 2016 earnings

  call. Disputed as to the implication that Jazz did not consider the ’963 patent claims as directed to

  methods of using Xyrem. See D.I. 249 at ¶¶ 2, 3, 5, 6.


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  Response to ¶8: Undisputed that Avadel accurately quoted a portion of Jazz’s Q4 2015 earnings

  call. Disputed as to the implication that Jazz did not consider the ’963 patent claims as directed to

  methods of using Xyrem. See D.I. 249 at ¶¶ 2, 3, 5, 6.

  Response to ¶9: Undisputed that Avadel accurately quoted a portion of Jazz’s Patent Owner

  Response in IPR2015-01903. Disputed as to the implication that Jazz did not consider the ’963

  patent claims as directed to methods of using Xyrem. See D.I. 249 at ¶¶ 2, 3, 5, 6.

  Response to ¶10: Undisputed.

  Response to ¶11: Undisputed as to the part of the claim quoted. The full language of the claim

  appears in the patent. D.I. 268-1, Ex. 3.

  Response to ¶12: Undisputed.

  Response to ¶13: Undisputed that Avadel accurately quotes the document.

                                                                                    A2070 at 122:14-

  123:22; A2072 at 132:13-133:7.

  Response to ¶14:



                                                                      .



                 . A2070 at 122:14-123:22; A2072 at 132:13-133:7.

  Response to ¶15: Undisputed that Avadel accurately quoted a portion of the document.



                                                       . A2073-74 at 137:4-138:14.

  Response to ¶16: Undisputed as of the date of the document.




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  Response to ¶17: Undisputed that Avadel accurately quoted a portion of Bruce Cozadd’s

  deposition.

                                                                    . A2073-74 at 137:4-138:14.

  Response to ¶18: Undisputed.

  Response to ¶19: Disputed.




            .



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  June 13, 2025




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                              CERTIFICATION OF COMPLIANCE

         I hereby certify that Jazz Pharmaceuticals, Inc’s Response to Avadel CNS Pharmaceuticals,

  LLC’s Concise Counterstatement of Facts in Opposition to Jazz’s Motion for Summary Judgment

  No. 2 (D.I. 297) complies with the four-page limit (when doubled-spaced with 1-inch margins) as

  set forth in Paragraph 9(b) of the Scheduling Order entered in this case (D.I. 44).


                                                       /s/ Jeremy A. Tigan

                                                       Jeremy A. Tigan (#5239)




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 13, 2025, I caused the foregoing to be electronically filed with

  the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

  participants.

         I further certify that I caused copies of the foregoing document to be served on

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